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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division


   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, APRIL MUÑIZ, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, JOHN DOE, and THOMAS                             Civil Action No. 3:17-cv-00072-NKM
   BAKER,
                                                                   JURY TRIAL DEMANDED
                                   Plaintiffs,
          v.
   JASON KESSLER, et al.,
                                   Defendants.



                                    NOTICE OF APPEARANCE

          PLEASE TAKE NOTICE that Raymond P. Tolentino of Kaplan, Hecker & Fink LLP

   hereby makes a general appearance on behalf of Plaintiffs in the above-captioned matter. A

   request is made that this information be entered in the record of this matter.



   Date: October 18, 2021                                Respectfully submitted,

                                                         /s/ Raymond P. Tolentino
                                                         Raymond P. Tolentino (pro hac vice)
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                                                         Counsel for Plaintiffs
Case 3:17-cv-00072-NKM-JCH Document 1245 Filed 10/18/21 Page 2 of 3 Pageid#: 20917




                                  CERTIFICATE OF SERVICE
          I hereby certify that on October 18, 2021, I filed the foregoing with the Clerk of
   Court through the CM/ECF system, which will send a notice of electronic filing to:

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    Heimbach
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           I hereby certify that on October 18, 2021, I also served the following via mail,
   electronic mail and fax:

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    Dated: October 18, 2021


                                                     /s/Raymond P. Tolentino
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